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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

Consumer Financial Protection Bureau,          )
                                               )
                        Plaintiff,             )
                                               )       C.A. No. 1:17-cv-01323-MN
          v.                                   )
                                               )
The National Collegiate Master Student         )
Loan Trust, et al.,                            )
                                               )
                        Defendants.            )


                         NOTICE OF SUPPLEMENTAL AUTHORITY

          Plaintiff the Consumer Financial Protection Bureau submits this Notice to inform the

Court of recent authority relevant to the Court’s adjudication of the pending Motion to Dismiss

filed by Intervenors Ambac Assurance Corp., Wilmington Trust Co., and Pennsylvania Higher

Education Assistance Agency (D.I. 300).

          Since Seila Law v. CFPB was decided, two courts have issued decisions addressing the

Bureau’s ratification of pending enforcement actions—and both of those courts have held that

the ratifications were valid and resolved any problem relating to the statutory removal restriction

that the Supreme Court held invalid, but severable, in Seila Law. See 140 S. Ct. 2183, 2192, 2211

(2020).

          In BCFP v. Chou Team Realty LLC, No. 8:20-cv-00043 (C.D. Cal. Aug. 21, 2020)

(attached as Ex. 1), the court rejected a defendant’s argument that the unconstitutional removal

restriction meant that the Bureau’s ongoing enforcement action had to be dismissed and could

not be ratified. Slip op. at 4. The court held that “[a]ny constitutional deficiency regarding the

removability issue at the time the Complaint was filed was cured by the Supreme Court severing




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the removal provision from the rest of the organic statute, coupled with the Director’s …

ratification of the action.” Id.

          And in BCFP v. Law Offices of Crystal Moroney, P.C., No. 7:20-cv-03240 (S.D.N.Y.

Aug. 19, 2020) (attached as Ex. 21), the court granted a petition by the Bureau to enforce a civil

investigative demand (CID). The Bureau had filed that action before the Supreme Court issued

its decision in Seila Law, but the Bureau’s Director ratified the action after the Seila Law ruling

confirmed that she is removable at will by the President. That ratification, the court held, cured

any defect in the initial filing of the case. Ex. 2 at 69-70 (concluding that “where the for-cause

removal provision has been severed, and thus, the constitutional violation has dissipated, the

ratification of the prior action is valid”). The court ordered the CID to be enforced, rejecting the

respondent’s arguments that the Director’s ratification was invalid. See id. at 58-72, 78.

Dated: September 8, 2020


                                               Respectfully submitted,


                                               Attorneys for Plaintiff
                                               Bureau of Consumer Financial Protection

                                               THOMAS G. WARD
                                               Enforcement Director

                                               DEBORAH MORRIS
                                               Deputy Enforcement Director

                                               ALUSHEYI J. WHEELER
                                               Assistant Litigation Deputy


                                               /s/ Gabriel Hopkins




1   The court ruled from the bench. A preliminary transcript of that hearing is attached.
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                                          CERTIFICATE OF SERVICE

         I hereby certify that on September 8, 2020, I electronically filed Plaintiff’s Notice of
Ratification with the Clerk of Court using CM/ECF which will send notification of such filing(s) to
all parties to this matter registered for CM/ECF.

        I hereby further certify that I sent a copy of Plaintiff’s Notice of Ratification by certified mail
to the agent authorized to accept service on behalf of the Defendants.

Dated: September 8, 2020

                                                                /s/ Gabriel Hopkins
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                                                                Attorney for Plaintiff Consumer
                                                                Financial Protection Bureau




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